DETROIT POLICE DEPARTMENT ERIE age 358 Filed 04707715 Page T of
) REPORT
Case No. 1408070309

Report No. #408070309.1
Report Date: 8/7/2014

We ta ( Ca f DETROIT POLICE DEPARTMENT
AN eA awe puic€- — 4

Subject:

Case Report Status
County
Clty/Township

Occurred On

(and Between)
Location

csz

Census/Geo Coda
Grid

Call Source

Vehicle Activity
Vehicle Traveling
Cross Street

Maans

Other Means
Motive

Other Motives

Report Narrative

Pen bags op P 7
CHU

07/4918/LARCENY/NO ARREST

|-IN PROCESS Daie Entered 8/7/2044 6:21:02 PM Reporting Officer
82 - WAYNE EnleredBy 234398 - MCKAY, REBECGA . 234398 - MCKAY, REBECCA
99 - DETROIT Date Verified
Veritied By Assisted By
8/1/2044 1:00:00 PM Date Approved
8/4/2014 8:00:00 AM Approved By .
2931 BEAUFAIT Connecting Cases Assist Agency
Disposition ACTIVE
5163 ‘Tactical Actions
NEG - 0306 Glaaranca Reason
Date of Clearance
Reporting Agemy DETROIT POLICE DEPARTMENT
Division ~=DETROIT POLICE DEPARTMENT
Nolified
MCKAY $397 GENERAL ASSIGNMENT UNIT
A: NONE

§$: PHONE CALL RECEIVED BY PRO REPORTING LARCENY OF FERROUS METAL CARTS

C: 1, DETROIT POLICE SERGEANT REBECCA MCKAY OF THE GENERAL ASSIGNMENT UNIT RECEIVED A CALL FROM
DAVID LEDBETTER (PRO), A DRIVER AT DETROIT BOILER, LEDBETTER ADVISED ME THAT UNKNOW PERSONS HAD CUT
THE FENCE SURROUNDING THEIR PROPERTY AT THE N/E SIDE OF THE PROPERTY, STOLE AT LEAST (3) HANDMADE
CARTS FROM THE YARD, THEN SROKE DOWN A PORTION OF THE FENCE THAT IS WOODEN TO ESCAPE WITH THE
CARTS.

LEDBETTER ADVISED ME THAT HE HAD SEEN THE CARTS ON 8-1-2014 AT APPROXIMATELY 1PM AND THEY
DISCOVERED MISSING ON 8-4-2014 AT APPROXIMATELY 8AM BY THE OWNER (RON JOHNSON).

THE PRO DESCRIBED THE CARTS AS &' LONG, 3' WIDE, 6' TALL WITH FADED YELLOW PAINT. EACH CART IS WORTH
APPROXIMATELY $400

| ISSUED A THEFT ALERT FOR THE MATERIAL

Offense Detail: 2309 - LARCENY - FROM YARDS (GROUNDS SURROUNDING A BUILDING)

Offense Description
IBR Code

IBR Group

Crime Against
Offense Fila Ciass
PAGG

Local Code

Using
Criminal Activity
Weapons

2309 - LARCENY - FROM YARDS (GROUNDS SURROUNDING A BUILDING)

23H - ALL OTHER LARCENY location §=418 - PARKING LOTIGARAGE
A Offensa Completed? =O

PR HaleBias =~ 0 - NONE (NO BIAS)

23007 - LARCENY -OTHER Domestio Violence ~=NO

No. Prem. Entered
Entry Method
Type Sacurity
Tools Used

Suspect 81: UNKNOWN SUSPECT

Suspect Number
Name

AKA

Alert(s}

Addrass

NetRMS_MICR. lf ver

Page 1 of 3

Ht.

$1 DOB Place of Birth
UNKNOWN SUSPECT Age 00 SSN
Sex U- UNKNOWN DLN

Raco =U - UNKNOWN DLN State

Ethnicity =U.» UNKNOWN DLN Country

Oncupation/Grade

Printed For:
Printed: August 7, 2014 » 6:34 PM

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Case No. 1408070309
Report No. 1408070309.1
Report Date: 8/7/20 4

DETROIT POLICE DEPARTHENT CRIME PagéeID.359 Filed O4/07715 Page 2 of 5
REPORT

DETROIT POLICE DEPARTMENT

2

Page 2 of 3
csz Wh. Employer/School
Eye Color Employer Address
Home Phone Hair Gator Employer C8Z
Work Phone Halr Styla Ras. County
Email Address Rair Langth Res. Country
Facial Hair Resident Status = - UNKNOWN
Complexion
Build
Teeth
Scars/Marks/Tattoos
Suspect MO
Other MO
Attire
Habitual Offender
Status
Suspect Notes
Victim V4: JE] DETROIT BOILER
Vielim Code V4 Vieim Of 2309 - LARCENY - FROM YARDS (GROUNDS SURROUNDING A
Victim Type = B - BUSINESS BUILDING)
Name [E] DETROIT BOILER DOB Place of Birth
AKA Aga SSN
Alert{s} Bex DLN
Recs OLN State
Address 2931 Beaufait Ethnicity DLN Country
sz Ht, Occupation/Grade
Wt Employer/School
Home Phone Eye Color Employer Address
Work Phona 313 924-7060 Hair Color Employer C8Z
Emall Address Facial Hair Res, County
Complexion Res. Country
Attire Resident Status
Injury Tastify
Circumstancas
Law Enforcement Type Justifiable Homicide
poet aed or Assignment Circumstances
Information Activity
Other ORI
Victim Offender Relationships
Offender Relationship
Vicilm Notes = RON JOHNSON (OWNER)
Other Entity: O1 - LEDBETTER, DAVE
Entity Code =O
Entity Type PRO- PERSON REPORTING OFFENSE
Name LEDBETTER, DAVE DCB Placa of Birth
AKA Age SSN
Alert(s) Sex = M+-MALE DLN
Raca =. UNKNOWN DLN State
Address = 2931 Beaufait Ethnicity DLN Country
CSz Hi. Occupation/‘Grade = DRIVER
Wt. Employe/Schoot DETROIT BOILER
Home Phone = 33.43 806-1950 | Eye Color Employer Address
Work Phone ‘ Hair Color Employer CSZ
Email Address Faclal Hair Res, County
Complexion Ras. Country

Attire

NetRMS_MICR. rif v2f

Resident Status

Printed: August 7, 2014 - 6:34 PM

Case OSES EO OB-ABBA ECF NG, YEE My aib Sapo PRY 04/07/15 Pabess bP52

STA Incident Alert: Detroit, MICHIGAN 48238; AlertID: MI2014080669684

From: "ScrapTheftAlert" <ScrapTheftA lert@isri.org>
To: <mckayr3 98 @detroitmi.gov>
Date: Thursday - August 7, 2014 9:59 AM

Subject: STA incident Alert; Detroit, MICHIGAN 48238; Alert[D: MI2014080669684
Attachments: Mime.822

You subscribed to receive this email from our Website, www.scraptheftalert.com

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R A Serap Recycling Racyeting Indusinas
A I ERT. ladustries, lac, + Ravactitlon Gandia dos

4 ir Reinteplitaly tet Industries ci Monyelage
General Information

Reference Number: Ml2014080869684

Title: Metal (ferrous) carts
Date of Occurrence: 8/1/2014

Location: Detroit, MICHIGAN
Value: $1200

Photos:

é6Caseimaqe. ashx.|

Materials Information

Materials: Metal - Fertous (iran, cast iron)

The carts are handmade and are painted yellow (which has faded
over time). They may be cut in pieces when they are presented to the

Details: scrap yard, They are made of ferrous metal, Four (4) of these carts
were stolen from a local business.

Color: Yellow

VIN:

Name

Brand/Serial#:

Weight:

Copper Wire, Pipe No

of Similar?:

http://gw,ci.detroit.mi.us/gw/webace ?User.context=7d07bd9ad243a9197£3a01a322ed99e37... 8/7/2014

Case 2:15-cv-11080-MOB-APP ECF No. 16-4, PagelD.361 Filed 04/07/15 Page 4of5

14062253

JACKET #14-GA-048 ’ CASE # 1408070309
DETROIT POLICE DEPARTMENT INVESTIGATOR’S REPORT __ pate: osrizot4 .
IN CUSTODY DEFENDANT NAME ” ADDRESS WITH ZIP 2 .
YES NO CODE AGE | SEX RACE D.O.B. IDENT. HO,
x I, Alvin Vernon Naugles 2247 [Minois Detroit Mi 48207 47 1M B | 11-07-
1966
[LX] | 2. Paul Michael Harris 2543 St, Antoine Detroit Mi-48201 54 |My] B [0t-25- -] |
ase 1946)
OFFENSE (TOBE FILLED IN BY yal ay \ oe ft ae \ oe l YANO
her Quvfsel\ Qye 2 Lyd Se\\
TIME, DATE OF OFFERS! PLAGE OF OFFENSE } SI DATE OF COMPLAINT UAT FILE NUMBER =| JACKET NUMBER
Pe
$:20am August 4, 2014 2931 Beaufait & 14GA048
$122 W., Fort St
COMPLAINANT'S NAME 9991 Beaufait SEX AGE D.0.B, RACE RELATION T0 DEF.
Detroit Boiler (Ron Johnson) serenity . Strangers
OTHER PENDING CHARGES COMPLAINANT'S PHONE
. {\ 313-921-7060
PERSON TO SIGN ASSISTANT PROSEGUTING ATTORNEY :

On or about August 7, 2014 Detroit Police Sergeant Rebecca cKay of the General Assignment Unit received
information of the theft of several steel carts from Detroit BoilerThe carts were described as 5° long, 3° wide, 6° tall
with faded yellow paint, and a Theft Alert was subsequently issued

On August 7, 2014 Sergeant McKay received a phone call from Gregory Aslinger, the Manager of Southwest Metals, a

_ Scrap yard, Aslinger indicated that he had purchased the material from defendant Naugles, Aslinger went on to say that

defendants Naugles and Harris had come into the yard separately with the carts intact and attempted to sell them, but
Aslinger believing them to be stolen material (“not scrap”) turned them away at the scale, Later, defendant Naugles came
in with the material cut up and according to Aslinger, he “had the material hidden in his load” allowing the material to be
accidentally purebased, Aslinger indicated that the material had already been shipped to the processor by August 7, 2014,

Detroit Police Officer Tommy Bell of the General Assignment Unit went to Southwest

receipts and statement that had been prepared by Astinger (All Southwest Metals empkt JUS GOSH? ad sea

t). Prffice:

provide statements to police, but Aslinger contacted Sergeant McKay and insisted on pr
reviewed the video...

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Distdet or Bureau

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1Openy ()recommenp tir issue. PAINE °
NAME iy IDENT. NO.
Cia Fi i
I, Alvin Vernon Naugles 2247 Illinois Detroit Mi 487 feed Ft
. . " ? ey i
2, Paul Michael Harris 2543 St. Antoine Detroit Mi 48201 lf P60
OFFENSE (TO BE FILLED IN BY PROSECUTOR} aS dy, | " TAPE NUMBER
\ Sy De (2d yo
Rar _Gua/gell <e\\ sc aro

SECTION oO be SLED IN BY PROSECUTOR)

LyuS 2 h3om

IPAGE NUMBER

COMPLAINANT'S NAME ADDRESS STATE

A

Michigan

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DPD. 4570

3] SAL Sree\ Cans

SIGNED

Cofb—273.RE |

ASSISTANT PROSECUTING ATTORNEY

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ov, 10-77

Case PA8?871080-MOB-APP ECF No. 16-4, PagelD.362 Filed o4/67/15" Page's of 5

QeTRo
DEPARTMENT
POLICE

INVESTIGATOR’S REPORT SUPPLEMENT

Page TWO

Name of
Defendant #t only Alvin Vernon Naugles : Offense No,

Date of Complaint:

DETAILS OF INVESTIGATION (Continued)

The video shows three attempts at selling the carts, (two failed and one successful),

* A white pick up truck arrives on the ferrous scale with a cart in the bed of the track. The cart is intact, Aslinger
and Joe Fawaz (owner) inspect the material and the vehicle leaves with the material still in the truck bed.

« A blue pick up truck arrives on the ferrous scale with a trailer containing a cart. The cart is intact. Aslinger
inspects the trailer and the vehicle leaves with the material still in the trailer.

* The blue pick up truck and trailer tefurn with the same cart, only this time it is cut up. Aslinger inspects the
trailer and makes the purchase of the disassembled cart.

The video clearly shows the material in the trailer of truck driven by Naugles, and Aslinger inspecting the load. All three
of the transactions were on the same day.

WITNESSES:

Gregory Aslinger (civilian) Manager Southwest Metals will testify to turing away defendant Naugles and
Harris each one time, then purchasing the material from defendant Naugles after the material was cut into pieces.
Joe Fawaz (civilian) Owner Southwest Metals will testify 10 the video and business records.

Detroit Police Officer Tommy Bell (1602/GAU) will testify to the video review and statement obtained from
Aslinger

Detroit Police Sergeant Rebecca McKay #5397 DPD/GAU will testify to information received and the
investigators report

